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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Overwell Harvest, Limited
                                     Plaintiff,
v.                                                        Case No.: 1:17−cv−06086
                                                          Honorable Sara L. Ellis
David Widerhorn, et al.
                                     Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 10, 2018:


        MINUTE entry before the Honorable Sara L. Ellis: Status hearing held on
4/10/2018. The Court grants Defendant Paul Giedraitis' oral motion for extension of time
to answer or otherwise plead by 6/15/2018. Defendant Paul Giedraitis may file an informa
pauperis petition and motion for attorney representation for consideration by the Court
before status date. Plaintiff is given leave to issue third party subpoenas. Status hearing set
for 6/19/2018 at 9:30 AM. Mailed notice(rj, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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